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                            ** NOT FOR PRINTED PUBLICATION **

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     LUFKIN DIVISION

DANNY ALLEN                                      §
                                                 §
          Plaintiff,                             §
                                                 §      CASE No. 9:18-CV-50-RC-KFG
v.                                               §
                                                 §
SDR TRUCKING, LLC ET AL.                         §
                                                 §
          Defendants.                            §

          ORDER GRANTING STIPULATION OF DISMISSAL OF DEFENDANTS
          The parties filed a Stipulation of Dismissal of Defendants [Dkt. #44] pursuant to Federal

Rules of Civil Procedure 41(a)(1)(A)(ii), seeking to dismiss the case with prejudice against

Defendants SDR Trucking LLC and Timothy Dewayne Harrell and for each party to bear its own

costs.

          IT IS THEREFORE ORDERED that the parties Stipulation of Dismissal of Defendants

[Dkt. #44] is GRANTED and that Plaintiff Danny Allen’s claims against Defendants SDR

Trucking, LLC and Timothy Dewayne Harrell are DISMISSED WITH PREJUDICE. All costs of

court shall be borne by the party incurring the same.



         So Ordered and Signed
         Jan 4, 2019
